8:05-cr-00252-BCB-MDN            Doc # 58   Filed: 10/17/05   Page 1 of 1 - Page ID # 102




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:05CR252
                                              )
JAIME GUITRON,                                )                 ORDER
                                              )
                    Defendant.                )




      Before the Court is the defendant’s Motion for Pretrial Release [48]. A Consent
to Modify Conditions of Release [57] was filed on October 14, 2005. For that reason,
the Motion for Pretrial Release shall be deemed granted.

      IT IS SO ORDERED.

      DATED this 17th day of October, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
